     Case
      B2100A18-22228-GLT
            (Form 2100A) (12/15)     Doc 49      Filed 10/26/21 Entered 10/26/21 14:10:33                       Desc Main
                                                 Document     Page 1 of 1
                                       UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)
     IN RE:                                                     Case No:                    18-22228
                                                                Loan Number (Last 4):       8363
     Debtors: Alan W. Cridge
                                 TRANSFER OF CLAIM OTHER THAN FOR SECURITY

      A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
      evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
      referenced in this evidence and notice.
     DLJ Mortgage Capital, Inc.                                     Community Loan Servicing, LLC
     Serviced by Select Portfolio Servicing, Inc.
                       Name of Transferee                                                Name of Transferor

     Name and Address where notices to transferee should be
     sent:

              PO Box 65250                                          Court Claim # (if known):          16
              Salt Lake City, UT 84165                              Amount of Claim:                   $36,917.39
                                                                    Date Claim Filed:                  07/31/2018
                                                                    Last Four Digits of Acct #:        6916
     Phone:                      1-800-258-8602
     Last Four Digits of Acct #: 8363
     Name and Address where transferee payments should be
     sent (if different from above):


              Select Portfolio Servicing, Inc.
              Attn: Remittance Processing
              PO Box 65450
              Salt Lake City, UT 84165-0450


     Phone:                      1-800-258-8602
     Last Four Digits of Acct #: 8363


        I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
        knowledge and belief.

       By:       /s/ John Shelley                                    Date: 10/25/2021
                 InfoEx, LLC, as authorized filing agent
                  (Approved by: Kiara Richardson)

       Specific Contact Information:
       Kiara Richardson - BK Specialist
       Phone: 1-800-258-8602




       Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
       152 & 3571.




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